                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION
______________________________________
                                         :
Amanda Pierner-Lytge,                    :
                                         : Civil Action No.: 2:15-cv-00061-PP
                                         :
                      Plaintiff,         :
        v.                               :
                                         :                                                         (
Seas and Associates, LLC; and DOES 1-10, :
inclusive,                               :                                                         (
                                         :                                                         D
                      Defendants.        :                                                         R
______________________________________ :                                                           H
                               STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed in its entirety with prejudice and without costs to any party.

 Amanda Pierner-Lytge                          Seas and Associates, LLC

 ___/s/ Amy L. Cueller__________               __/s/ Jared M. Goerlitz___________

 Amy L. Cueller, Esq. #15052-49                Jared M. Goerlitz, Esq.
 Lemberg Law, LLC                              PFB Law, Professional Association
 1100 Summer Street, 3rd Floor                 55 East Fifth Street, Suite 800
 Stamford, CT 06905                            St. Paul, MN 55101
 (203) 653-2250                                (651) 291-8955
 Attorney for Plaintiff                        Attorney for Defendant



_____________________________
SO ORDERED




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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 19, 2015, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court Eastern District of
Wisconsin Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

                                             By_/s/ Amy L. Cueller________

                                                     Amy L. Cueller




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